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                    3                                   NOTE: CHANGES MADE BY THE COURT
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                    6                 UNITED STATES DISTRICT COURT
                    7        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
L L P




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                    9 BROIDY CAPITAL MANAGEMENT                    Case No. 2:18-CV-02421-JFW-(Ex)
F L E X N E R




                      LLC, ELLIOTT BROIDY, and ROBIN
                   10 ROSENZWEIG,                                  The Honorable John F. Walter

                   11                     Plaintiffs,              ORDER ON STIPULATION TO
                                                                   SCHEDULE FOR FILING
                   12 v.                                           AMENDED COMPLAINT AND
S C H I L L E R




                                                                   MOTION TO DISMISS AND
                   13 STATE OF QATAR, STONINGTON                   ORDER STAYING DISCOVERY
                      STRATEGIES LLC, NICOLAS D.                   ________
                   14 MUZIN, and DOES 1-10,
                   15               Defendants.
B O I E S




                   16
                   17        Presently before the Court is Plaintiffs’ and Defendants’ Proposed Order on
                   18 Stipulation to Schedule for Filing Amended Complaint and Motion to Dismiss and
                   19 Proposed Order Staying Discovery. The Proposed Orders are GRANTED.
                   20        IT IS HEREBY ORDERED:
                   21        1. Plaintiffs will file their Amended Complaint on May 24, 2018.
                   22        2. Defendants’ response to the Amended Complaint will be filed no later than
                   23           60 days following May 24, 2018. If any Defendant files a motion to
                   24           dismiss, it will be noticed for a hearing date 35 days after the filing of the
                   25           motion to dismiss. Any opposition to any such motion will be filed no later
                   26           than 21 days before the hearing date, with any replies filed no later than 14
                   27           days before the hearing date.
                   28

                                                PROPOSED ORDER ON SCHEDULING STIPULATION
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                    1        3. A limited discovery stay shall be ordered through and including June 4,
                    2           2018. Discovery may proceed, specifically including discovery of Joseph
                    3           Allaham, but may not proceed against the following:
                    4              a. Any and all parties, including employees of any party;
                    5              b. Any and all non-parties that are registered agents of the State of
                    6                 Qatar and have filed registration statements with the Department of
                    7                 Justice as required by the Foreign Agents Registration Act as of the
L L P




                    8                 date discovery was served on such parties.
F L E X N E R




                    9              c. Any and all non-parties employed or engaged by the State of Qatar
                   10                 to advise or assist in diplomatic or sovereign functions where such
                   11                 parties or the materials in their possession may be subject to a claim
S C H I L L E R




                   12                 of privilege or non-disclosure under the Vienna Convention on
                   13                 Diplomatic Relations Article 24 or the Vienna Convention on
                   14                 Consular Relations Article 33 or Article 61.
                   15        4. Subject to any further stays granted by this Court, the parties and non-
B O I E S




                   16           parties described in paragraph 3 that have already been served with
                   17           discovery or subpoenas shall be required to respond no later than July 2,
                   18           2018, with subpoena objections due on June 18, 2018, and Plaintiffs shall
                   19           notify the non-parties of the change in response date.
                   20        5. Any motions for a further stay of discovery may be filed on or after June
                   21           4, 2018, with any oppositions to be filed 7 days thereafter, and any replies
                   22           filed no later than 7 days after the filing of any such opposition.
                   23        6. The Scheduling Conference currently set for June 4, 2018 shall be
                   24           adjourned and set for August 6, 2018. Counsel shall file the joint report on
                   25           or before July 23, 2018.
                   26
                   27 IT IS SO ORDERED.
                   28
                      Dated: May 7, 2018                         John F. Walter
                                                                 United States District Judge
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